Case 1:21-cv-02922-EK-CLP Document 14 Filed 08/13/21 Page 1 of 4 PageID #: 50

                                   MILMAN LABUDA LAW GROUP PLLC
                                                 3000 MARCUS AVENUE
                                                       SUITE 3W8
                                                LAKE SUCCESS, NY 11042
                                                        _________

                                                TELEPHONE (516) 328-8899
                                                FACSIMILE (516) 328-0082
†
    Also admitted in New Jersey

Author: Joseph M. Labuda – Member †
Direct E-Mail Address: joe@mllaborlaw.com
Direct Dial: (516) 303-1380
                                                                                   August 13, 2021
VIA ECF
United States District Court
Eastern District of New York
Attn: Hon. Eric Komitee, U.S.D.J.
225 Cadman Plaza East
Courtroom 6G North
Brooklyn, NY 11201-1804

                Re:          Williams v. The Russo’s Payroll Group, Inc., et al.
                             Case No.: 1:21-cv-2922 (EK) (CLP)
                             MLLG File No.: 75-2021                   _______

Dear Judge Komitee:

        This office represents Defendants The Russo’s Payroll Group, Inc. d/b/a Russo’s on the
Bay (hereinafter “Corporate Defendant”), Frank Russo, Jr. (“Frank”), and Giuseppe “Joe” Vacca1
(“Giuseppe”) (Frank and Giuseppe collectively the “Individual Defendants”) (the Corporate
Defendant and the Individual Defendants collectively hereinafter the “Defendants”) in the above-
referenced case. This letter shall serve as Defendants’ letter requesting a pre-motion conference,
pursuant to ¶ III(B) of this Court’s Individual Practices and Rules (hereinafter “Individual Rules”),
in anticipation of their motion to dismiss the complaint pursuant to Rules 12(b)(1) and 12(b)(6) of
the Federal Rules of Civil Procedure (hereinafter referred to as “Rules” or “Rule”), and to strike
scandalous, impertinent, and immaterial allegations in the complaint pursuant to Rule 12(f).

Relevant Factual Background & Procedural History

        On May 24, 2021, Plaintiff Kalief Williams (hereinafter “Plaintiff” or “Williams”) filed
the complaint in this case. See Docket Entry 1. The complaint generally alleges that Williams
“experienced a racially stratified and discriminatory workplace” where “management casually and
continuously used racial slurs and racial stereotypes,” and where everyone – “staff, … guests …,
and local residents” – engaged in “racial mistreatment” and same was “commonplace.” Id.
Plaintiff also alleges that Defendant Robert Russo (“Robert”) violently attacked him and that
Plaintiff was denied a request to not work alongside him following the alleged incident. Id.
Williams identifies as a “Black” man who has been employed by the Corporate Defendant in May
2015. Id. at ¶ 1. All of these events transpired on or before September 2016, approximately five
(5) years ago. Id. at ¶¶ 20-57.

1
     This office does not represent Defendant Robert Russo.
Case 1:21-cv-02922-EK-CLP Document 14 Filed 08/13/21 Page 2 of 4 PageID #: 51




        On or about November 3, 2016, Williams filed a Verified Complaint with the New York
City Commission on Human Rights (“NYCCHR”), Robert, and Giuseppe for violations of the
New York City Human Rights Law (“NYCHRL”) and Title VII. On or about May 2020, a
probable cause determination was issued without describing any basis therefor, and a notice of
closure was filed on January 14, 2021. The notice was issued pursuant to § 8-113(a)(5) of the New
York City Administrative Code (“NYCAC”), which provides that the NYCCHR may dismiss a
complaint for administrative convenience at any time prior to the taking of testimony at a hearing
because prosecution of the complaint will not serve the public interest. A notice of right to sue
was issued by the United States Equal Employment Opportunity Commission (“EEOC”) on March
9, 2021 because “[Plaintiff] wishes to pursue [the] matter in Federal District Court.”

The Complaint Must be Dismissed Based on the Statute of Limitations & Failure to State a Claim

        Plaintiff’s claims are time-barred. Plaintiff alleges he was subject to discrimination from
May 2015 through September 2016. As noted here, on May 24, 2021, Plaintiff filed the instant
complaint. Generally, the filing of an administrative complaint will toll the statute of limitations
on a discrimination claim. However, as discussed below, the dismissal of Plaintiff’s administrative
complaint in this case did not toll the statute of limitations.

        Indeed, where a complaint filed with the NYCCHR is dismissed by the NYCCHR pursuant
to NYCAC § 8-113(a), an aggrieved person shall maintain all rights to commence a civil action
pursuant to this chapter as if no such complaint had been filed. See NYCAC § 8-502 (emphasis
added). In other words, while a complainant may annul his election to the administrative process
at the NYCCHR prior to a hearing and then proceed to court, see e.g., Whidbee v. Garzarelli Food
Spec., Inc., 223 F.3d 62, 75–76 (2nd Cir. 2000); see also Legg v. Eastman Kodak Co., 248 A.D.2d
936, 937 (4th Dept.1998), if such annulment is made, any judicial proceedings are subject to New
York’s general three (3) year statute of limitations, measured from the occurrence of the
discrimination, with no tolling for the period in which the claim was pending in the administrative
process. See Henderson v. Town of Van Buren, 15 A.D.3d 980, 789 N.Y.S.2d 355 (4th Dept.
2005); see also Sprott v. N.Y. City Hous. Auth., No. 94-CIV.-3818 (PKL), 1999 WL 1206678
(S.D.N.Y. Dec. 16, 1999).

        Here, Plaintiff undeniably annulled his election of remedies before the NYCCHR to pursue
his claims in court pursuant to NYCAC § 8-113(a). As such, the tolling period evaporated and the
statute of limitations is measured from the occurrence of discrimination, alleged here to be no later
than September 2016, more than three (3) years ago. As such, Plaintiff’s NYCHRL claims must
be dismissed as time-barred. The same should apply to Plaintiff’s claims under Title VII as
Williams never independently filed an EEOC charge and merely piggybacked his federal claims
onto his Verified Complaint with the NYCCHR. See Morales v. City of New York Dep't of
Justice, No. 10-CIV.-829 (JGK), 2012 U.S. Dist. LEXIS 7277, 2012 WL 180879, at *4 (S.D.N.Y.
Jan. 23, 2012) (holding that complaints filed with another agency are considered to be cross-filed
with the EEOC; therefore, “the date of filing with [another agency] is the date of filing with the
EEOC for purposes of the statute of limitations”).




                                                 2
Case 1:21-cv-02922-EK-CLP Document 14 Filed 08/13/21 Page 3 of 4 PageID #: 52




        Further, Defendants intend to argue that notwithstanding the foregoing, the Complaint fails
to state a claim. Specifically, (i) Plaintiff fails to adequately allege that he was qualified for his
position, suffered an adverse employment, nor that some causal connection exists between his
protected class and any adverse employment action; and (ii) Defendants can establish that the
employer took no adverse employment action upon receiving a complaint, exercised reasonable
care to prevent and promptly correct the alleged behavior, and that Plaintiff unreasonably failed to
take advantage of any preventative or corrective opportunities provided by the employer to avoid
harm. See Faragher v. City of Boca Raton, 524 U.S. 775, 807-08 (1998); Burlington Indus., Inc.
v. Ellerth, 524 U.S. 742, 764-65 (1998).

The Complaint Must Otherwise be Stricken as Scandalous, Impertinent, & Immaterial

         In his complaint, Plaintiff makes scandalous and defamatory allegations against
Defendants which have no bearing whatsoever concerning his claims which are both so
scandalous, immaterial, and impertinent, this Court must strike them. Among those allegations
are: (i) he was chased by a group of ten white boys with knives and sticks when he was sixteen
(16) years old near a Chinese restaurant in Howard Beach (See Docket Entry 1 at ¶ 42); (ii) Howard
Beach, Queens is stained with a history of hate crimes, including the murder of an African-
American man in 1985 and the attack of three African-American men in 2005 (Id. at ¶ 43); (iii)
Defendants have close ties to the New York City Police Department and are connected to
organized crime, citing a news article (Id. at ¶ 44, 44 n. 2); (iv) Plaintiff would frequently be
stopped by the police during his walk to work at Russo’s (Id. at ¶ 45).

        Rule 8 of the Federal Rules of Civil Procedure (hereinafter referred to as “Rules” or “Rule”)
provides that a pleading need only contain a short and plain statement of the grounds for the court’s
jurisdiction, a short and plain statement of the claim showing that the pleader is entitled to relief,
and a demand for the relief sought. See Fed. R. Civ. P. 8(a). Nothing more, nothing less.

        Rule 12 provides, further, that a court may strike from a pleading any redundant,
immaterial, impertinent, or scandalous matter. See Fed. R. Civ. P. 12(f). There is no requirement
under Rule 8 to describe, inter alia, sexual positions, locations of rendezvous, the content of text
messages, and similar information. In fact, a court “may strike from a pleading . . . any redundant,
immaterial, impertinent, or scandalous matter.” See Hill v. Cray Research, Inc., 864 F. Supp. 1070,
1073 (D.N.M. 1991); see also Ysais v. N.M. Judicial Standard Comm’n, 616 F. Supp. 2d 1176,
1184 (D.N.M. 2009); Leviton Mfg. Co., Inc. v. Zhejiang Dongzheng Elec. Co., No. 05-CIV.-0301,
2006 U.S. Dist. LEXIS 95180, 2006 WL 4060663, at *1 (D.N.M. Sept. 18, 2006). “To be
impertinent or immaterial, the allegations must have no possible bearing on the controversy.” See
Employers Ins. of Wausau v. Musick. Peeler, & Garrett, 871 F. Supp. 381, 391 (S.D. Cal. 1994).
Evidentiary allegations are not usually proper pleading, but allegations supplying background or
historical material or other matter of an evidentiary nature will be stricken if unduly prejudicial to
defendant. See Fuchs Sugars & Syrups, Inc. v. Amstar Corp., 402 F. Supp. 636, 637-38 (S.D.N.Y.
1975). Allegations will be stricken as scandalous if they degrade defendants’ moral character,
contain repulsive language, or detract from the dignity of the court. See Nault’s Auto. Sales v. Am.
Honda Motor Co., 148 F.R.D. 25, 30 (D.N.H. 1993) (citation omitted). Motions to strike are
granted or denied in the court’s discretion. See The Wilderness Soc’y v. Kane County, Utah, 581
F.3d 1198, 1226, n.25 (10th Cir. 2009).



                                                  3
Case 1:21-cv-02922-EK-CLP Document 14 Filed 08/13/21 Page 4 of 4 PageID #: 53




        The superfluous allegations complained of above fall within the ambit of Rule 12(f) as
they are scandalous, immatieral, and impertinent. Events that transpired in 1985 and prior
thereto have nothing to do with the complaint here. Nor does the allegation that Defendants have
ties to organized crime. Moreover, the foregoing allegations are especially prejudicial. The
restaurant industry, including the Defendants, have been decimated by the pandemic with a
significant loss of customers and revenue. Now, while trying to survive the severe impact the
pandemic,2 Plaintiff is defaming and attacking Defendants with scandalous allegations in a
publicly filed document which has the effect of scaring customers away and causing the
restaurant to lose revenue. The broad protections from defamatory statements within court
filings should not given license to the Plaintiff to make nasty and scandalous allegations about
the Defendants. See United States Sec. and Exch. Commn. v Collector's Coffee Inc., No. 19-
CIV.-4355 (VM) (GWG), 2021 WL 1956369, at *4 (S.D.N.Y. May 17, 2021), report and
recommendation adopted, 19-CIV.-4355 (VM), 2021 WL 3082209 (S.D.N.Y. July 21, 2021)
(holding that while the “litigation privilege” doctrine has been used as a defense to state law tort
claims, several courts have declined to apply state law privileges to federal causes of action).

       Accordingly, Defendants respectfully submit Defendants’ letter motion for a pre-motion
conference be granted such that a briefing schedule may be entered into for Defendants’ anticipated
motion.

       Defendants thank this honorable Court for its time and attention to this case.

Dated: Lake Success, New York
       August 13, 2021                        MILMAN LABUDA LAW GROUP PLLC

                                              __/s _________________________________
                                              Joseph M. Labuda, Esq.
                                              Emanuel Kataev, Esq.
                                              3000 Marcus Avenue, Suite 3W8
                                              Lake Success, NY 11042-1073
                                              (516) 328-8899 (office)
                                              (516) 328-0082 (facsimile)
                                              joe@mllaborlaw.com
                                              emanuel@mllaborlaw.com

                                              Attorneys for Defendants
                                              The Russo’s Payroll Group, Inc.
                                              Frank Russo, Jr., and
                                              Giuseppe Vacca


2
  See Columbus Ale House, Inc. v. Cuomo, No. 20-CIV.-4291 (BMC), 2020 WL 6118822, at *5
(E.D.N.Y. Oct. 16, 2020) (“New York City is in the middle of an economic crisis brought about
by the pandemic. Much has been written about the falling real estate prices, vacant store fronts,
fleeing residents, and the potential permanent or long-term demise of the entertainment and
restaurant industries in New York”).


                                                 4
